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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division

                                                )
UNITED STATES OF AMERICA                        )     Criminal No. 1:19cr59
                                                )
              v.                                )     The Honorable Liam O’Grady
                                                )
DANIEL EVERETTE HALE,                           )     Motions Hearing: October 18, 2019
                                                )
                         Defendant.             )
                                                )

                GOVERNMENT’S MOTION IN LIMINE TO EXCLUDE
             CERTAIN EVIDENCE, ARGUMENT, OR COMMENT AT TRIAL

       The United States, by and through its undersigned counsel, respectfully moves in limine

for a ruling that precludes Defendant Daniel Everette Hale and his counsel from adducing

evidence at trial or making arguments or comments before the jury concerning the following

matters:

       (1)    the supposed “good motives” of the defendant;

       (2)    a claim that an alternative perpetrator committed the charged crimes,
              absent some non-speculative evidence of that individual’s (a)
              connection to a particular reporter, and (b) knowledge of, or access
              to the documents at issue;

       (3)    a claim that “everybody leaks classified information” and the
              defendant is being unfairly prosecuted; and

       (4)    the punishment the defendant may face upon conviction.

As explained below, such evidence and arguments are inadmissible under Federal Rule of

Evidence 403 and the pertinent case law.
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                                         BACKGROUND

       The defendant has been indicted for stealing, obtaining, and retaining government

documents; disclosing and transmitting them to a particular reporter, and causing them to be

published on the internet and in a book, all in violation of 18 U.S.C. §§ 641, 793(c), 793(e), and

798(a)(3). Eleven of the documents that give rise to these charges were marked either “TOP

SECRET” or “SECRET.”

       As alleged in the Superseding Indictment, the defendant obtained the documents at issue

by printing them while he worked at the National Geospatial-Intelligence Agency. An online

media organization thereafter posted a series of articles that published, in whole or in part, many

of the documents at issue. A particular reporter (hereinafter, the “Reporter”) wrote or

contributed to all of these articles, and the Reporter subsequently released a book that essentially

compiled the previously published articles and documents.

       At this time, the government anticipates the defense may seek to make two arguments at

trial. First, the defendant may try to argue at trial that someone else is responsible for disclosing

the documents at issue to the Reporter. Second, the defense likely will want to argue that, even

if the defendant engaged in the conduct alleged, he had good reasons to leak the documents at

issue and is being unfairly prosecuted under criminal statutes that carry significant penalties.

Any such arguments, however, would be entirely improper.

       The United States therefore asks this Court to grant this Motion and preclude the defense

from raising at trial the arguments and defense theories described below.

                          LEGAL AUTHORITY AND ARGUMENT

       Although a defendant has a constitutional right to present evidence and argument in his

favor, “‘a defendant’s right to present a defense is not absolute.’” United States v. Lighty, 616




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F.3d 321, 358 (4th Cir. 2010) (quoting United States v. Prince-Oyibo, 320 F.3d 494, 501 (4th

Cir. 2003)). “In presenting a defense, the accused ‘must comply with established rules of

procedure and evidence designed to assure both fairness and reliability in the ascertainment of

guilt and innocence.’” United States v. Jones, 742 F. App’x 710, 712 (4th Cir.) (per curiam)

(quoting Chambers v. Mississippi, 410 U.S. 284, 302 (1973)), cert. denied sub nom. Jones v.

United States, 139 S. Ct. 578 (2018). Accordingly, criminal defendants neither have a right to

present “‘evidence that the district court, in its discretion, deems irrelevant or

immaterial,’” Lighty, 616 F.3d at 358 (quoting Prince-Oyibo, 320 F.3d at 501), nor a right to

present evidence that is relevant but unduly prejudicial, confusing, or misleading, see Fed. R.

Evid. 403.

        As explained below, the Court should disallow the defendant from introducing evidence

at trial or making argument or comment before the jury regarding at least four theories of

defense. The first impermissible defense is that the defendant had “good motives” in acting as

he did. A second improper defense is that “everybody leaks classified information,” and so it is

unfair to prosecute the defendant for such conduct. The third defense that should be disallowed

is a speculative claim that an alternative perpetrator committed the charged crimes. And, the

final defense tactic to be proscribed in this case is disclosure to the jury of the potential

punishment the defendant may face upon conviction. Each of these defenses lacks a sufficient

factual or legal basis to be raised at trial.

A.      The Court Should Bar the Defendant from Presenting a “Good Motives” Defense

        Absent express approval by a person who is authorized to provide it, no government

employee or contractor can steal government documents, whether classified or unclassified, and

then provide them to the media. The defendant in this case did precisely that, with no authority




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or approval whatsoever. Any attempt to inject a necessity, whistleblower, or similar “good

motive” defense into this case should be rejected, because the motive for the defendant’s conduct

is irrelevant. Moreover, any attempt to litigate the defendant’s views of various military or

intelligence programs, or to introduce evidence of the merits or substance of any claims of abuse

within the military or intelligence community, is not relevant to the charges and will serve only

to distract the jury with mini-trials about how the United States should conduct foreign affairs.

       In short, the defendant’s intent to retain, transmit, or cause any of the stolen materials to

be published is an element of the offenses charged against him. But, his motive to help or hinder

the United States by doing so is not. The Court, as a result, should bar proof of such motive

from trial as irrelevant to his guilt or innocence.

       1.      The Defendant’s Motive to Help or Hinder the United States Is Not an Element
               of Any Offense Charged
       In Count 1, the defendant is charged with a violation of 18 U.S.C. § 793(c), for

unlawfully obtaining 11 classified documents connected with the national defense, for the

purpose of obtaining information respecting the national defense, having reason to believe at the

time he obtained them that they would be obtained, taken, and disposed of contrary to law. In

order to prove the defendant is guilty of this offense, the government must prove:

               One:    The defendant obtained from any person, or from any
                       source, a document connected with the national defense;

               Two: The defendant did so for the purpose of obtaining
                    information respecting the national defense; and

               Three: At the time he obtained the document, the defendant knew
                      or had reason to believe that the document would be
                      obtained, taken, made, or disposed of by a person contrary
                      to law.




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See 18 U.S.C. § 793(a) & (c). Based on the elements of the offense, proof of any motive beyond

“the purpose of obtaining information respecting the national defense” is irrelevant.

       In Count 2, the defendant is charged with a violation of 18 U.S.C. § 793(e), for (a)

willfully retaining documents relating to the national defense over which he had unauthorized

possession, and failing to deliver them to the officer or employee of the United States entitled to

receive them; and (b) communicating, delivering, and transmitting such documents to a person

not entitled to receive them, i.e., the Reporter. To prove the defendant guilty of this offense, the

government must prove:

               One:    The defendant had unauthorized possession of, access to, or
                       control over a document;

               Two: The document related to the national defense; and

               Three: The defendant willfully retained the document and failed to
                      deliver it to the officer or employee of the United States
                      entitled to receive it; or the defendant willfully
                      communicated, delivered, and transmitted the document to a
                      person not entitled to receive it.

See United States v. Aquino, 555 F.3d 124, 130 (3d Cir. 2009); Jury Instructions at 194:10–20,

United States v. Morison, No. Y-84-00455 (D. Md. 1985).

       Section 793(e) requires the government to prove that the documents at issue relate to the

national defense in that they were, at the time of the criminal conduct, closely held and the

disclosure of the documents would have been potentially damaging to the United States or

potentially useful to an enemy of the United States. United States v. Morison, 844 F.2d 1057,

1071–72 (4th Cir. 1988) (approving a district court’s jury instruction defining “national defense”

in a §§ 793(d) and (e) prosecution). Yet, § 793(e) does not require the government to prove the

defendant intended to harm the United States, and, in a prosecution involving documents rather

than information, the government does not have to prove that the defendant had reason to believe


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his conduct could harm the United States or aid a foreign nation. See Aquino, 555 F.3d at 131

n.13 (explaining that the “reason to believe” mens rea requirement “‘is not present for the

delivery or retention of photographs or documents’” (quoting United States v. Morison, 604 F.

Supp. 655, 658–59 (D. Md. 1985))); see also United States v. Kiriakou, 898 F. Supp. 2d 921, 923

(E.D. Va. 2012) (observing that for § 793(d), which parallels § 793(e), “the ‘reason to believe’

clause applies only to disclosures of intangible [national defense information]”); United States v.

Drake, 818 F. Supp. 2d 909, 916–17 (D. Md. 2011) (“Only the second ‘information’ clause [of

§ 793(e)] requires proof of the ‘reason to believe’ element”). Instead, a defendant can be

convicted of § 793(e) in a documents retention or disclosure case “whether or not he knew or had

reason to know of a specified use for the information contained therein.” Aquino, 555 F.3d at

131 n.13. In short, based on the elements of the offense, proof of the defendant’s motive is

irrelevant.

        Count 3 charges the defendant with a violation of 18 U.S.C. § 793(e), for causing the

publication, dissemination, and distribution to the general public of articles and a book related to

the national defense of the United States, by willfully (a) communicating, delivering, and

transmitting such documents to persons not entitled to receive them; (b) causing such documents

to be communicated, delivered, and transmitted to such persons; (c) attempting to communicate,

deliver, and transmit such documents to such persons; and (d) attempting to cause such

documents to be communicated, delivered, and transmitted to such persons. In order to prove the

defendant guilty of this offense, the government must prove the following essential elements

beyond a reasonable doubt:

               One:    The defendant had unauthorized possession of, access to, or
                       control over a document;

               Two: The document related to the national defense; and


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               Three: The defendant willfully (a) communicated, delivered, or
                      transmitted such a document to a person not entitled to
                      receive it, (b) caused such a document to be communicated,
                      delivered, or transmitted to a person not entitled to receive
                      it, (c) attempted to communicate, deliver or transmit such a
                      document to a person not entitled to receive it, or (d)
                      attempted to cause such a document to be communicated,
                      delivered, or transmitted to a person not entitled to receive it.

See 18 U.S.C. § 793(e); Aquino, 555 F.3d at 131 n.13; Kiriakou, 898 F. Supp. 2d at 923; Drake,

818 F. Supp. 2d at 916–17; Jury Instructions at 193:10–20, Morison, No. Y-84-00455. Again,

based on the elements of the offense, proof of motive is irrelevant.

        In Count 4, the defendant is charged with a violation of 18 U.S.C. § 798(a)(3), for

willfully communicating, furnishing, transmitting, and otherwise making available to an

unauthorized person classified information concerning the communication intelligence activities

of the United States. The elements of this offense are:

               One:    The defendant communicated, furnished, transmitted, or
                       otherwise made available classified information;

               Two: The classified information concerned the communication
                    intelligence activities of the United States; and

               Three: The defendant did so willfully.

See 18 U.S.C. §§ 798(a)(3). Once again, based on the elements of the offense, proof of motive is

irrelevant.

        Finally, in Count 5, the defendant is charged with a violation of 18 U.S.C. § 641, for

conveying and disposing of records and things of the United States with an aggregate value in

excess of $1,000. To prove this offense, the government must prove the following elements:

               One:    The defendant conveyed or disposed of a record or thing of
                       value of the United States;



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               Two: The defendant did not have the legal authority to do so;

               Three: The total value of the record or thing of value exceeded
                      $1,000; and

               Four: The defendant acted knowingly.

See United States v. Landersman, 886 F.3d 393, 409 (4th Cir. 2018) (“‘Section 641 prohibits two

separate acts. The first is to embezzle, steal, or knowingly convert United States property and

the second is to sell, convey, or dispose of United States property without authority.’” (quoting

United States v. Zettl, 889 F.2d 51, 53 (4th Cir. 1989))); Eric Wm. Ruschky, Pattern Jury

Instructions for Federal Criminal Cases, District of South Carolina at 128–29 (2019 Online

Edition); Jury Instructions at 1549:10–19, Sterling, No. 1:10-CR-485-LMB. Once again, based

on the elements of the offense, proof of motive is irrelevant.

       2.      The Defendant’s Supposed “Good Motive” in Retaining and Disclosing the
               Classified Documents Is Irrelevant

       Evidence of the defendant’s views of military and intelligence procedures would

needlessly distract the jury from the question of whether he had illegally retained and transmitted

classified documents, and instead convert the trial into an inquest of U.S. military and

intelligence procedures. The defendant may wish for his criminal trial to become a forum on

something other than his guilt, but those debates cannot and do not inform the core questions in

this case: whether the defendant illegally retained and transferred the documents he stole.

       To be sure, §§ 793(e) and 798(a)(3) require the government to prove the defendant acted

“willfully.” This mens rea, however, is not a vehicle for showcasing the defendant’s motivations

for his conduct. The defendant either willfully retained or transmitted documents relating to the

national defense, or he did not. Evidence of whistleblowing efforts does not defeat that intent; if

anything, it proves that his actions were knowing and willful. In other words, if the defendant



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had a specific reason for retaining and transmitting the documents, then his retention and

transmission could not have been due to accident, mistake, or negligence.

       The seminal decision addressing this exact issue in the context of § 793 is United States

v. Morison. The defendant in Morison was a naval intelligence officer who transmitted classified

satellite photographs of Soviet naval activity to a British periodical. The naval intelligence

officer was convicted at trial of violating § 793(d), § 793(e), and two counts of § 641, and the

Fourth Circuit affirmed his conviction. See 844 F.2d at 1060–63, 1080.

       At trial, the United States moved in limine to exclude testimony regarding the defendant’s

patriotism. The defense argued in response that patriotism was relevant to the issue of

willfulness because willfulness requires a showing of evil intent or bad motive. The defense

further asserted that the government must not only show that the defendant intentionally

transmitted the specified items, but also that he did so in order to potentially damage the national

defense. United States v. Morison, 622 F. Supp. 1009, 1009–10 (D. Md. 1985).

       The district court granted the government’s motion and rejected the defense’s “incorrect[]

read[ing] [of] the statute.” Id. at 1010. The district court explained that, although “[t]he

government[] must show a bad purpose to break the law by delivering or retaining the

items, . . . a showing of an underlying purpose to damage the national defense is entirely

unnecessary and irrelevant.” Id. Willfulness “only requires that [a defendant] knew he was

doing something that was prohibited by law,” and, as a result, “[i]t is irrelevant whether the

defendant personally believed that the items related to the national defense, and his underlying

motive is equally irrelevant.” Id.

       The district court further reasoned that “[p]roof of the most laudable motives, or any

motive at all, is irrelevant to” the elements of 18 U.S.C. § 793(d) and (e). Id. This is because




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“[n]ational defense is not a subjective test; it does not matter whether the defendant himself

believed that the photographs and/or documents did indeed relate to the national defense. It is

purely an objective test, and one for the jury to decide after considering all of the evidence.” Id.

Simply put, a “[d]efendant’s patriotism or lack of patriotism has no bearing on any element of”

the charged offenses. Id. (emphasis added).

       In affirming the naval intelligence officer’s conviction, the Fourth Circuit approved of the

district court’s striking of testimony regarding the defendant’s patriotism. Morison, 844 F.2d at

1080 (“We are satisfied with the district court’s reasoning and decision on this point.”).

While the Fourth Circuit did not expressly opine as to whether the jury should have been

instructed that motive is irrelevant, subsequent decisions make clear that a defendant’s belief

about information relating to the national defense, or his motive for retaining or transferring that

information, is irrelevant under the statute. That is, the government need only prove under

§§ 793(e) and 798(a)(3) that the defendant’s retention or transmission was intentional.

       Indeed, decades ago, the Supreme Court expressly rejected the idea that willfulness

requires proof “of any motive other than intentional violation of a known legal duty.’” United

States v. Pomponio, 429 U.S. 10, 12 (1976). This interpretation of the term “willfulness” has

been affirmed time and time again. See Bryan v. United States, 524 U.S. 184, 194–96 (1998)

(holding that, except for “highly technical statutes” that could “ensnar[e] individuals engaged in

apparently innocent conduct,” “willfulness” only requires proof that the defendant knew his

conduct was unlawful); United States v. Washington, 705 F.2d 489, 493 (D.C. Cir. 1983) (“Proof

of a good motive . . . is not probative on the issue of . . . intent.”). Moreover, courts have found

that even where a good-faith belief can negate an individual’s willful violation of a statute, a

good-faith motive never constitutes a proper defense. See United States v. Aaron, 590 F.3d 405,




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408 (6th Cir. 2009) (a good-faith motive for willfully committing tax fraud is not a valid

defense); United States v. Dack, 987 F.2d 1282, 1285 (7th Cir. 1993) (approving jury instruction

in tax evasion prosecution that stated: “[t]he purpose of protesting government policies is not a

defense even if such protest is based on a good motive”). To hold otherwise “would be to

confuse the concept of intent with that of motive,” the latter of which is “not relevant to the

question of the violation of the statute” and “is rather an element proper for the judge’s

consideration at sentencing.” United States v. Moylan, 417 F.2d 1002, 1004 (4th Cir. 1969)

(finding statute outlawing the willful destruction of Selective Service draft records requires proof

of an intent to commit the proscribed act with knowledge such conduct violated the statute, and

rejecting argument that willfulness is negated by “act[ing] from good motives, i.e., to protest a

war which [the defendants] sincerely believed was not only illegal but immoral”).

       Espionage Act decisions that have been issued after Morison further establish that a

good-motive defense is irrelevant to §§ 793(e) and 798(a)(3) prosecutions. For instance, in

United States v. Rosen, 445 F. Supp. 2d 602 (E.D. Va. 2006), an information (as opposed to

documents) disclosure prosecution, Judge T.S. Ellis, III observed that “if a person transmitted

classified documents relating to the national defense to a member of the media despite knowing

that such an act was a violation of the statute, he could be convicted for ‘willfully’ committing

the prohibited acts even if he viewed the disclosure as an act of patriotism,” id. at 626. Likewise,

in Drake, the district court held that the unlawful retention of documents requires proof of

“simple willfulness” in accordance with Bryan, 818 F. Supp. 2d at 916–17. Similarly, in United

States v. Hitselberger, 991 F. Supp. 2d 101 (D.D.C 2013), the district court found that the

government need not establish that the defendant intended to injure the national security of the

United States, id. at 107–08 (explaining the applicability of Bryan’s “simple willfulness”




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standard, and describing the “core of ‘willful’ misconduct” as “act[ing] with the knowledge or

intent to disregard the law, not an evil intent to injure the United States”).

       Barring the introduction of “good motives” evidence not only is consistent with

established law, but it also accords with common sense. Any other result would allow any

individual in possession of classified documents to substitute his own view as to whether the

information was deserving of protection in the name of national defense in the place of the

President of the United States, who, through Executive Order and designees, is entitled to make

such determinations. See Morison, 604 F. Supp. at 661 (stating the classification system

established by Executive Order has “the force and effect of law”). Our entire system of national

security would crumble if every individual could decide on his own what information should and

should not be protected.

B.     The Court Should Bar the Defendant from Presenting Speculative Evidence or
       Argument of an Alternative Perpetrator of the Charged Crimes

       It is not enough for a defendant to establish the relevancy of a proffered defense that

someone else committed the charged crimes. See United States v. Jordan, 485 F.3d 1214, 1218

(10th Cir. 2007) (“When proffered evidence deals with a defense theory of an alternative

perpetrator, additional considerations [beyond Rule 403] arise.”). Such a defense must also be

grounded in fact. As the Supreme Court observed in Holmes v. South Carolina, 547 U.S. 319

(2006), a case concerning the constitutionality of a South Carolina statute that excluded third-

party guilt evidence, it is blackletter law that evidence of someone other than the accused

committing the charged crime “‘may be introduced by [the] accused when it is inconsistent with,

and raises a reasonable doubt of, his own guilt; but frequently matters offered in evidence for this

purpose are so remote and lack such connection with the crime that they are excluded,’” id. at

327 (quoting 41 C.J.S., Homicide § 216 pp. 56–58 (1991)).


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       It therefore is axiomatic that third-party guilt evidence is appropriately excluded where

the nexus between the crime charged and the alleged alternative perpetrator is speculative. See

Lighty, 616 F.3d at 358 (“When determining whether evidence of an alternative perpetrator

should be admitted at trial, courts have found that such evidence ‘is relevant, but there must be

evidence’ of a ‘connection between the other perpetrators and the crime, not mere speculation on

the part of the defendant.’” (quoting DiBenedetto v. Hall, 272 F.3d 1, 8 (1st Cir. 2001))); United

States v. Hicks, 307 F. App’x 758, 761 (4th Cir. 2009) (per curiam) (explaining that an

alternative perpetrator defense requires a weighing of the relevance of the evidence to its

potential to mislead, confuse, or result in prejudice); Jordan, 485 F.3d at 1219 (holding that there

must be a “non-speculative ‘nexus’ between the crime charged and the alleged [alternative]

perpetrator”); Wade v. Mantello, 333 F.3d 51, 60 (2d Cir. 2003) (finding that third-party animus

did not establish sufficient connection to permit an alternative perpetrator defense); United States

v. Patrick, 248 F.3d 11, 21 (1st Cir. 2001) (holding that there must be evidence “that there is a

connection between the other perpetrator and crime, and not mere speculation.”).

       Particularly instructive in this regard is Lighty, 616 F.3d at 358. There, the defendant

sought to introduce testimony from two witnesses concerning a third party’s possession of a

firearm. According to the proffer from the two witnesses, the witnesses would have testified that

they each saw the third party, Mathis, with a firearm that looked similar to the murder

weapon. Id. The district court refused to permit the testimony, noting that the proposed

testimony was “‘just too tenuous,’” and finding that the “proffered testimony provided no nexus

between [the charged] kidnapping and murder and Mathis.” Id.

       The Fourth Circuit affirmed the district court’s ruling, finding that “the proffered

testimony would have caused the jury to rankly speculate that the gun allegedly possessed by




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Mathis” was the murder weapon. Id. at 358–59. According to the Fourth Circuit, “Rule 403 is

designed to, among other things, prevent the jury from engaging precisely in this type of

speculation.” Id. at 359. Given the lack of any evidence regarding why the two witnesses

thought Mathis’s firearm looked like the murder weapon, the lack of any close temporal

proximity between the possession and the charged kidnapping and murder, and the fact that “the

proffered testimony would have shed no light on what transpired during [the] kidnapping and

murder,” the Fourth Circuit upheld the exclusion of evidence. Id. See also Hicks, 307 F. App’x

at 761 (excluding evidence that his estranged wife and her boyfriend placed child pornography

on the defendant’s computer because the defendant could not establish any prior “connection

between such evidence and the child pornography found on [the defendant’s] computer.”).

       Here, the Court should bar the defendant from presenting any evidence or argument

regarding alternative perpetrators of the charged crime absent some non-speculative evidence of

a connection to the Reporter and some knowledge of, or access to, the classified documents

identified in the Superseding Indictment. Importantly, the defendant cannot rely upon rank

conjecture and speculation that some anonymous individual “could have been” a source for the

Reporter. Cf. United States v. Waters, 627 F.3d 345, 352–53 (9th Cir. 2010) (excluding “highly

speculative” evidence that government conspired to engage in misconduct). Because the

defendant will not be able to produce non-speculative evidence to establish the requisite nexus

between the charged crimes and an alternative perpetrator, the case law forecloses the defendant

from presenting any evidence or making any argument that others in the government were the

Reporter’s source(s) and disclosed the national defense information at issue.




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C.     The Court Should Bar the Defendant from Presenting Any Evidence or Argument
       About Everybody Leaking Classified Information

       A defense that suggests the defendant is being unfairly prosecuted for conduct that

“everybody does” also is improper in this case. This is because such a defense is irrelevant and

inadmissible under Rule 403. See United States v. Fowler, 932 F.2d 306, 316 (4th Cir. 1991)

(noting in a retention, disclosure, and conversion of classified documents prosecution that the

district court deemed irrelevant an “‘everybody-does-it’ defense”).

       An instructive case in this regard is United States v. Oldbear, 568 F.3d 814 (10th Cir.

2009). There, the defendant, who had been indicted for embezzling federal tribal funds, sought

to call several witnesses who “would have testified that they, like Oldbear, were allowed to use

tribal funds to pay for personal transportation expenses.” Id. at 821. The district court barred

their testimony as irrelevant and inadmissible under Rule 403. The Tenth Circuit affirmed the

district court, ruling that “only Oldbear’s actions and state of mind were material to her guilt.”

Id. According to the Court, the mere “fact that others may have been the beneficiaries of

improper conduct does nothing to excuse Oldbear.” Id. This type of “everybody-is-doing-it”

defense was immaterial to the defendant’s guilt and would have created a “sideshow from which

the jury could have gleaned little valuable information.” Id.

       The Court therefore should bar the defendant from presenting any evidence, argument or

comments that everybody leaks classified information. In particular, the case law forecloses the

defendant from presenting any evidence or making any argument regarding the following:

               1.      everyone in government leaks information, classified or
                       otherwise, or that “everybody does it”; and

               2.      specific instances or examples of the leaking of classified
                       information, whether prosecuted or not.




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Such evidence would be inadmissible under Rule 403. Not only is such evidence not probative

on the issue of whether the defendant committed the charged crimes, but the introduction of such

evidence or arguments would force mini-trials over the similarities and differences between the

present prosecution and every other specific instance of leaked classified information. See

also United States v. Dooley, 578 F.3d 582, 590–91 (7th Cir. 2009) (affirming exclusion of

evidence of possible previous thefts as irrelevant and potentially confusing and distracting to the

jury); United States v. Henderson, 409 F.3d 1293, 1304 (11th Cir. 2005) (excluding from

prosecution of excessive force under color of law evidence of the statistics of the actions of other

police officers and proper police procedures as irrelevant and confusing).

D.     Defendant Should Be Barred from Referring to the Punishment He Might Incur
       Upon Conviction

       The defendant may attempt to inform the jury through testimony or argument that he

stands to lose his liberty and face a prison sentence based on the charged conduct. Such

testimony or argument should not be allowed. Any punishment or consequence the defendant

might suffer is irrelevant to the factual issues and, therefore, inadmissible under Federal Rule of

Evidence 403.

       The impermissibility of disclosing to a jury the potential punishments upon conviction is

time-honored. For instance, in United States v. Shannon, 512 U.S. 573 (1994), the Supreme

Court reaffirmed the “well established” rule that a jury must “‘reach its verdict without regard to

what sentence might be imposed,’” id. at 579 (quoting Rogers v. United States, 422 U.S. 35, 40

(1975)). The Court explained that information regarding the consequences of a guilty verdict are

“irrelevant” to the jury’s task of finding the facts and applying them to the criminal law as

charged. Id. Moreover, allowing the jury access to such information “invites them to ponder

matters that are not within their province, distracts them from their fact-finding responsibilities,



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and creates a strong possibility of confusion.” Id. (citations omitted). In addition to being

irrelevant, any references to the defendant’s possible punishment would only be designed to

evoke jurors’ sympathies in an attempt to encourage a nullification verdict.

       The principles articulated in Shannon are just as applicable here. The Court, therefore,

should bar the defense from introducing evidence or making argument or comment at trial

regarding the potential punishment the defendant will face upon conviction.




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                                        CONCLUSION

       For the foregoing reasons, the government asks the Court to bar the defense from

adducing evidence at trial or making any arguments or comments before the jury regarding the

supposed “good motives” of the defendant in acting as he did, speculation as to an alternative

perpetrator of the charged crimes, the supposition that everybody leaks classified information,

and the punishment the defendant might face upon conviction.



                                                     Respectfully submitted,


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                             CERTIFICATE OF SERVICE

      I hereby certify that I have caused an electronic copy of the GOVERNMENT’S

MOTION IN LIMINE TO EXCLUDE CERTAIN EVIDENCE, ARGUMENT, OR COMMENT

AT TRIAL to be served via ECF upon counsel for Defendant Daniel Hale.




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